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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE


             In re:                                                                  Chapter 11

             BOY SCOUTS OF AMERICA AND                                               Case No. 20-10343 (LSS)
             DELAWARE BSA, LLC,1
                                                                                     (Jointly Administered)
                                              Debtors.


                                                    COVER PAGE FOR BSA BALLOTS




TO:             Omni Agent Solutions

FROM:         Krause and Kinsman

    First and Last Name:
    Year of Birth:
    Number and Street:
    City:                                                             State:        OR                        Zip Code:
    Country (not USA):                                                Email Address:
    Telephone (Home):                                                 Telephone (Cell):


DATE: December 27, 2021


CLAIM NUMBER:               C81657


BALLOT ID:             183817




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are as follows: Boy Scouts of America
(6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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